   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 1 of 25. PageID #: 2824




                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

TAMIR ABDULLAH,                          )       CASE NO. 1:03CR486
                                         )
                    Petitioner,          )       JUDGE JOHN R. ADAMS
                                         )
      v.                                 )
                                         )
UNITED STATES OF AMERICA,                )       MEMORANDUM OPINION
                                         )       AND ORDER
                    Respondent.          )
                                         )


      The instant matter is before the Court upon Petitioner Tamir Abdullah’s

(“Petitioner”) Motion to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody, pursuant to 28 U.S.C. § 2255. (Doc. 527).

I. FACTUAL BACKGROUND

      Petitioner, along with codefendants Calvin Caver and Fred Cloud, was charged by

a Grand Jury of the United States District Court for the Northern District of Ohio on July

20, 2004, in a four-count superseding indictment.        (Doc. 301).    The superseding

indictment charged Petitioner with one count of Conspiracy to Possess with Intent to

Distribute Cocaine Base, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846,

(Count 1), and one count of Possession with Intent to Distribute and Distribution of

Cocaine Base, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B), (Count 3). (Doc.

301). Following a jury trial, Petitioner was found guilty on both counts on September 22,

2004. (Doc. 366, 368).



                                             1
    Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 2 of 25. PageID #: 2825




       On March 2, 2005, the Court sentenced Petitioner to life imprisonment on Count

One and ten years imprisonment on Count Three, with the sentences to run concurrently,

to be followed by a term of ten years supervised release. (Doc. 447). Petitioner timely

filed a notice of appeal two days after the sentence was imposed. (Doc. 443).

       The Sixth Circuit affirmed Petitioner’s conviction, along with those of his

codefendants, in a mandate issued January 3, 2007. (Doc. 497). The United States

Supreme Court denied Petitioner’s petition for a writ of certiorari on April 19, 2007.

(Doc. 501). Petitioner filed the instant petition for federal habeas corpus relief on March

31, 2008. (Doc. 527). The government has filed a Response in Opposition, (Doc. 627),

and Petitioner has filed a Brief in Response, (Doc. 631). Petitioner has also filed a

Supplement to his Response. (Doc. 632).

II. STANDARD OF REVIEW

       “To prevail under 28 U.S.C. § 2255, a defendant must show a ‘fundamental

defect’ in the proceedings which necessarily results in a complete miscarriage of justice

or an egregious error violative of due process.” Gall v. United States, 21 F.3d 107, 109

(6th Cir. 1994). A federal district court may grant relief to a prisoner in custody only if

the petitioner can “demonstrate the existence of an error of constitutional magnitude

which had a substantial and injurious effect or influence on the guilty plea or the jury’s

verdict.” Griffin v. United States, 330 F.3d 733, 736 (6th Cir. 2003).




                                             2
    Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 3 of 25. PageID #: 2826




III. LAW AND ARGUMENT

       A. Ground One: Government Suppression of Impeachment Evidence

       The Supreme Court’s holding in Brady v. Maryland, 373 U.S. 83 (1963),

“obligates the government to turn over evidence that is both favorable to the accused and

material to guilt or punishment.” Owens v. Guida, 549 F.3d 399, 415 (6th Cir. 2008).

Evidence that may be used to impeach a government witness falls within the Brady rule

“[w]hen the reliability of a given witness may well be determinative of guilt or

innocence.” Giglio v. United States, 405 U.S. 150, 154 (1972) (citations omitted). A

violation of the Brady requirement has three components: “The evidence at issue must be

favorable to the accused, either because it is exculpatory, or because it is impeaching; that

evidence must have been suppressed by the State, either willfully or inadvertently; and

prejudice must have ensued.” Strickler v. Greene, 527 U.S. 263, 281-82 (1999). Only

where “the [withheld] evidence is material in the sense that its suppression undermines

confidence in the outcome of the trial” does a Brady violation result in a constitutional

error. United States v. Bagley, 473 U.S. 667, 678 (1985).1

       Petitioner alleges that the government failed to disclose evidence of misconduct by

Drug Enforcement Administration Special Agent Lee Lucas (“Agent Lucas”), which

Petitioner claims would have been used to impeach Agent Lucas at trial. Specifically,

Petitioner cites two cases from the Southern District of Florida in which Agent Lucas’


1
       Petitioner also makes reference to a Jencks Act violation regarding impeachment evidence allegedly
       withheld by the government. (Doc. 527 at 4). The Jencks Act relates only to the production by the
       government of statements of government witnesses. 18 U.S.C. § 3500, et. seq. Petitioner does not specify
       which statements of Drug Enforcement Administration Special Agent Lee Lucas should have been
       produced by the government, nor does he provide any argument that would support a Jencks Act violation.

                                                     3
    Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 4 of 25. PageID #: 2827




credibility was found lacking. See United States v. Novaton, 271 F.3d 968 (11th Cir.

2001); United States v. Von Schlieffen, Case No. 93-0187 (S.D. Fla. May 28, 2003). As

the government points out, both of these cases are publicly filed documents that were

readily available to Petitioner. Where evidence is available from a source other than the

government, there is no Brady violation “because in such cases there is really nothing for

the government to disclose.” Coe v. Bell, 161 F.3d 320, 344 (6th Cir. 1998). Petitioner

states that he was aware of alleged inaccuracies in the testimony of Agent Lucas, as well

as that of Michael Morris, which, if true, should have led him to question the credibility

of those witnesses and attempt to find evidence to impeach them. The government’s

failure to provide Petitioner with evidence that was publicly available to him does not

constitute a Brady violation.

       Petitioner also submits a series of newspaper articles from the Cleveland Plain

Dealer which relate to the investigation of Agent Lucas’ use of informants in cases

unrelated to the instant matter. (Doc. 527, Ex. B). He alleges that the government knew

of the alleged misconduct by Agent Lucas and failed to disclose such knowledge or to

alert Petitioner of the investigation, in violation of its Brady obligation. The earliest of

the articles, however, dates from July 24, 2007, almost three years after Petitioner was

convicted. (Doc. 527, Ex. B at 11-12). Moreover, the investigation into Agent Lucas’

use of informants did not arise until 2007, when one former informant claimed to have

lied in a number of cases involving Agent Lucas. There is no evidence before the Court

to suggest that the government was aware at the time of Petitioner’s trial of any Brady

material related to Agent Lucas.    Because this information did not come to light until

                                             4
    Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 5 of 25. PageID #: 2828




after Petitioner’s trial, the government could not have been obligated under Brady to

disclose it to Petitioner.

       Therefore, the Court finds that the Brady violation alleged in Ground One of the

instant petition is without merit.

       B. Grounds Two Through Five: Ineffective Assistance of Counsel

       In Grounds Two through Five of the instant petition, Petitioner offers four bases

upon which he claims his counsel was ineffective, either at trial or on appeal.

       The Supreme Court, in Strickland v. Washington, 466 U.S. 668 (1984), devised a

two-part inquiry for claims of ineffective assistance of counsel. Under the Strickland

test, Petitioner must show (1) that counsel’s representation fell below an objective

standard of reasonableness; and (2) that there is a reasonable probability that but for

counsel’s unprofessional errors, the result of the proceeding would have been different.

Id. at 688-94.     Thus, Petitioner must demonstrate both deficient performance and

prejudice in order to succeed on his claim. Id. at 686. In analyzing a claim of ineffective

assistance, “a court must indulge a strong presumption that counsel’s conduct falls within

the wide range of reasonable professional assistance.” Id. at 689.

               1. Plea Negotiations

       In Ground Two of the petition, Petitioner claims that his trial counsel was

ineffective in failing to attempt to persuade him to accept a plea agreement offered by the

government. Petitioner asserts that he “did not understand or believe that this Court had

no choice but to sentence him to mandatory life without parole if he was convicted at a

jury trial,” and that “[i]f counsel had advised Petitioner that he was on a suicide course by

                                             5
    Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 6 of 25. PageID #: 2829




taking this case to trial, Petitioner would have accepted the government’s proposed plea

bargain.” (Doc. 527 at 12-13). Petitioner further argues that counsel failed “to contact

Petitioner’s family to help persuade him not to pursue the suicidal course of going to

trial.” (Doc. 527 at 12).

       A criminal defendant is entitled to the effective assistance of counsel during plea

negotiations, and the Strickland analysis applies to claims of ineffective assistance with

respect to such negotiations. Hill v. Lockhart, 474 U.S. 52, 58-59 (1985). In such cases,

the deficiency portion of the analysis is unchanged, while the prejudice prong “focuses on

whether counsel’s constitutionally ineffective performance affected the outcome of the

plea process.” Id. at 59. Where a petitioner chose to reject a plea offer, he must show “a

reasonable probability that, but for his counsel’s erroneous advice…he would have

accepted the [government’s] plea offer.” Magana v. Hofbauer, 263 F.3d 542, 551 (6th

Cir. 2001).

       In the instant matter, Petitioner has failed to show that counsel’s performance was

deficient with respect to the plea negotiations. Petitioner admits that “counsel advised

Petitioner of the government’s offer.” (Doc. 527 at 12). Counsel is neither obligated nor

permitted to force a defendant to accept a plea offer against the defendant’s will. Nor is it

the responsibility of counsel to convince his client’s family and friends to coerce the

client into accepting a plea offer. Petitioner does not allege that counsel advised him to

reject a favorable plea offer, but only that counsel did not try hard enough to convince

Petitioner to accept the government’s offer. This does not render counsel’s performance

constitutionally ineffective.

                                             6
    Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 7 of 25. PageID #: 2830




       Even assuming counsel’s performance was deficient, however, Petitioner has

failed to show prejudice. Petitioner’s claimed ignorance of the mandatory minimum life

sentence applicable to his case is belied by the record. First, the government filed three

notices pursuant to 21 U.S.C. § 851, which provided notice that due to his prior felony

drug convictions, Petitioner was subject to a mandatory minimum sentence of life

imprisonment if he was convicted on Count 1 of the Indictment. (Doc. 221, 269, 318).

Moreover, at a plea offer hearing held on June 24, 2005, almost three months prior to

trial, Petitioner was clearly advised that he was subject to a mandatory minimum life

sentence on Count 1 if he went to trial and was convicted.2 At the hearing, counsel for

the government stated:

       And your Honor, if I could continue, the gravity of the situation for Mr.
       Abdullah -- and I actually had an opportunity this morning to talk to him
       about this -- in the conspiracy count, your Honor, because of Mr.
       Abdullah’s criminal record and the enhancements that have been filed by
       the United States, if Mr. Abdullah is convicted of Count 1 of the indictment
       at trial, he will be looking at a mandatory minimum of life without parole.

(Doc. 492, Transcript of Plea Offer Hearing at 3). The Court then asked Petitioner if he

was aware of the maximum penalties for each count with which he was charged.

Petitioner answered, “Yes, your honor.” (Doc. 492, Pl. Offer Hrg. Tr. at 4).

       Later in the hearing, counsel for the government explained that he had met with

Petitioner and defense counsel to discuss the possibility of a proffer. He stated:

              Mr. Abdullah indicated at this time -- at that time, excuse me, that he
       would be interested in a sentence of 50 months, a little over four years. I
       indicated to him that because of his potential status as a career offender and
2
       While Petitioner was represented at the plea offer hearing by counsel other than his trial counsel, the plea
       offer proceedings are nonetheless instructive as to the merit of Petitioner’s claims in Ground Two of the
       instant petition, especially with respect to the prejudice prong of the analysis.

                                                       7
    Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 8 of 25. PageID #: 2831




       because of his prior criminal history, that that sentence would not be
       available to him, nor would I have any chance to get that type of sentence
       approved.
              I told Mr. Abdullah at that time, your Honor, that he was looking at a
       double digit sentence, somewhere over probably in the 15-plus year range
       after he received his credits for substantial assistance, if I could get that
       approved, and acceptance of responsibility.
              At that time Mr. Abdullah indicated to me that he was not desirous
       of pleading guilty to a double digit sentence. I indicated to him that a 50-
       month sentence was not possible, and at that time the proffer session
       terminated.

(Doc. 492, Pl. Offer Hrg. Tr. at 12-13).

       Finally, after Petitioner inquired about the possibility of representing himself and

was told by the Court that he had the right to do so, the following exchange occurred:

       THE DEFENDANT: No, your Honor. I’m facing life here, your Honor.

       THE COURT: I don’t think it’s sinking into your head.

       THE DEFENDANT: Your Honor, it’s sunk. I’m not sitting here trying to
       argue with you or nothing. I am facing life. I have a family, and I am not
       about to sit here and go to jail for something I didn’t do. And I am not
       about to do no 15 years for something I didn’t do.

(Doc. 492, Pl. Offer Hrg. Tr. at 17-18).

       The record of the plea hearing is thus instructive on two fronts.          First, it

demonstrates that Petitioner was advised that he was subject to a mandatory minimum

life sentence on Count 1, which Petitioner acknowledged at least twice during the

hearing. Second, Petitioner clearly indicated that he was not inclined to accept a plea

offer from the government which would require him to serve 15 or more years in prison

because he maintained that he was innocent of the charges in the Indictment.




                                            8
    Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 9 of 25. PageID #: 2832




         Based upon the foregoing, and even assuming counsel’s advice was erroneous,

Petitioner has failed to demonstrate a reasonable probability that, but for such advice, he

would have accepted the government’s plea offer. His claim of ineffective assistance of

counsel based upon counsel’s performance during plea negotiations is, therefore, without

merit.

         2. Hearing on Prior Convictions

         In Ground Three, Petitioner argues that counsel was ineffective for failing to move

for a hearing pursuant to 21 U.S.C. § 851(c) to determine the validity of the prior felony

drug convictions which would be used to enhance Petitioner’s sentence. As a basis for

such hearing, Petitioner states that he “believed his two prior convictions were related to

each other and could only be counted as one conviction. Therefore, Petitioner did not

believe this Court had to sentence him to mandatory life without release.” (Doc. 527 at

15). Petitioner does not offer any further grounds for a hearing pursuant to § 851(c).

         Section 851(c) states, in pertinent part:

         (1) If the person denies any allegation of the information of prior
         conviction, or claims that any conviction alleged is invalid, he shall file a
         written response to the information. A copy of the response shall be served
         upon the United States attorney. The court shall hold a hearing to determine
         any issues raised by the response which would except the person from
         increased punishment.

         Petitioner does not offer, and the Court does not find, any grounds upon which

such a hearing should have been conducted. The government established Petitioner’s

prior felony drug convictions and provided proper notice under § 851(a) of its intent to

use those convictions to enhance his sentence.         (Doc. 221, 269, 318).     Petitioner’s


                                                9
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 10 of 25. PageID #: 2833




mistaken belief that the convictions were related and should have counted as a single

conviction for purposes of sentencing enhancement is not a valid ground upon which to

challenge the use of the convictions. Thus, Petitioner’s counsel was not deficient in

failing to move for a hearing pursuant to § 851(c). For the same reasons, Petitioner has

not shown prejudice under Strickland.

       Petitioner’s claim of ineffective assistance of counsel based upon counsel’s failure

to request a § 851(c) hearing, therefore, without merit.

       3. Sentencing and Direct Appeal

       In Ground Four, Petitioner asserts that his “counsel was ineffective for failing to

argue at sentencing and on direct appeal that the government had failed to prove that the

substance [he possessed] was ‘crack’ cocaine as defined by the [sentencing] guidelines

and [Title 21, United States Code] Section 841(b)(1)(A)(iii).”         (Doc. 527 at 20).

Specifically, Petitioner alleges that because U.S.S.G. § 2D1.1 was amended in 1993 to

include a narrow definition of “cocaine base,” which encompasses only crack cocaine for

sentencing purposes, counsel was ineffective for failing to argue that Petitioner could not

be sentenced based upon possession of 50 grams or more of cocaine base without the

government having proven that the substance he possessed was crack cocaine.

       The Sixth Circuit recently held in United States v. Higgins, 557 F.3d 381, 395-96

(6th Cir. 2009), that, consistent with § 2D1.1 of the sentencing guidelines, the term

“cocaine base” as used in 21 U.S.C. § 841 means crack cocaine. Accordingly, before the

enhanced penalties of that section can apply, “the indictment must charge and the jury



                                             10
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 11 of 25. PageID #: 2834




must find beyond a reasonable doubt that the defendant committed a crime involving

crack cocaine.” Id.

       In the instant matter, both requirements were met. Count One of the superseding

indictment in the instant matter charged Petitioner with conspiracy “to possess with the

intent to distribute and to distribute more than 50 grams of a mixture or substance

containing a detectable amount of cocaine base (‘crack’)…in violation of Title 21, United

States Code, Sections 841(a)(1) and (b)(1)(A).”        (Doc. 301 at 2).    Petitioner was

convicted at trial on Count One, and the jury found “beyond a reasonable doubt that the

amount of cocaine base (‘crack’) conspired to be possessed and distributed by Tamir

Abdullah in Count One is…at least 500 grams, but less than 1.5 kilograms of cocaine

base (‘crack’).” (Doc. 366 at 2).

       Based upon the language of Count One and the jury’s verdict, counsel’s

representation did not fall below an objective standard of reasonableness in his failure to

argue that the government had not proven that the substance Petitioner possessed was

crack cocaine for purposes of the enhanced penalties under 21 U.S.C. § 841. Any such

argument would almost certainly have been rejected. Counsel is not ineffective for

failing to raise meritless objections or to pursue meritless issues on appeal. See United

States v. Hanley, 906 F.2d 1116, 1121 (6th Cir. 1990); Mathews v. United States, 11 F.3d

583, 585 (6th Cir. 1993).

       Petitioner’s claim of ineffective assistance of counsel based upon counsel’s failure

at sentencing and on direct appeal to challenge the sufficiency of the evidence as to the

type of substance Petitioner possessed is, therefore, without merit.

                                            11
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 12 of 25. PageID #: 2835




       4. Cross-examination of the Government’s Forensic Scientist

       In Ground Five of the petition, Petitioner claims that his trial counsel was

ineffective for failing on cross-examination to question the government’s scientific

examiner as to whether the substance she tested was crack cocaine or some other form of

cocaine base. (Doc. 527 at 21-24). Petitioner argues that his “counsel did not understand

the importance of this testimony for sentencing purposes and failed to cross-examine the

forensic chemist regarding the type of cocaine base that was seized in this case.” (Doc.

527 at 23).

       As an initial matter, it will be helpful to illustrate the differences between the

various forms of cocaine base.       The Seventh Circuit, in United States v. Booker,

explained:

              Cocaine...is rarely used in its naturally occurring form, at least in the
       United States. Before cocaine is imported into the United States, it is
       generally converted into cocaine hydrochloride, more commonly known as
       powder cocaine.
                     *                    *                     *
              Cocaine hydrochloride may be converted into what is referred to as
       freebase cocaine or cocaine freebase. Essentially, “freebase” means that
       the base (cocaine) is “freed” from the hydrochloride and converted into the
       same chemical state it was in before it became a salt. Freebase can be
       manufactured in different ways. In the 1970s, freebase would generally be
       made by dissolving cocaine in ammonia and adding ether or another
       organic solvent. This process, however, is dangerous to both the producer
       and the user because ether is flammable. A safer process for manufacturing
       freebase cocaine involves dissolving cocaine hydrochloride in baking soda
       and water, boiling the mixture until only a solid substance is left, and
       allowing it to dry. The result of this latter process is commonly known as
       crack.

70 F.3d 488, 491 (7th Cir. 1995), superseded by sentencing guidelines on other grounds,

U.S.S.G. § 2D1.1 (citations and footnotes omitted).

                                             12
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 13 of 25. PageID #: 2836




       The record demonstrates that on direct examination, the government’s scientific

examiner testified that Government’s Exhibit 1 was an evidence bag “containing chunks

of rock-like material,” which tested positive for cocaine base.         (Doc.    471, Trial

Transcript Vol. III at 641-42). The following exchange then occurred:

       Q.     What is cocaine base or crack, Ms. Lewis?

       A.     Cocaine base is another – or crack, which is the street term for it, is
              another form of cocaine. It is prepared using cocaine, the powder
              form of cocaine, or cocaine hydrochloride, and dissolving it in water
              and adding sometimes baking soda. And that solution is then heated
              up and cooled, and that removes some of the impurities found in it.
              And the resulting substance is a hard waxy material that you see
              here.

(Doc. 471, Trial Transcript Vol. III at 642-43).

       On cross-examination, counsel for Petitioner inquired as to the process of making

crack cocaine. The examiner testified as follows:

       Q.     Well, tell me what’s required to make crack cocaine?

       A.     As stated before, you dissolve the cocaine powder in water and you
              can add baking soda, and heat that mixture up, and cool it, and that
              will recrystallize to form the crack cocaine form that we have here.

(Doc. 471, Trial Transcript Vol. III at 652).

       Thus, at two separate times during her testimony, the government’s scientific

examiner described the process for making crack cocaine, which is different from the

process for producing other types of cocaine base, and then made reference to

Government’s Exhibit 1 as an example of the crack cocaine that is produced. Any

inquiry by counsel as to whether the substance was crack cocaine as opposed to another

form of cocaine base would have been futile, as the record indicates that the answer

                                                13
    Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 14 of 25. PageID #: 2837




would have been in the affirmative. Accordingly, trial counsel’s representation was not

objectively unreasonable for failing to make such an inquiry, and Petitioner was not

prejudiced.

         Petitioner’s claim of ineffective assistance of counsel based upon counsel’s failure

to adequately cross-examine the government’s scientific examiner is, therefore, without

merit.

         C. Ground Six: Adoption of Codefendant Fred Cloud’s Claims

         In Ground Six of the petition, Petitioner moves to adopt the claims raised in

codefendant Fred Cloud’s (“Cloud”) Motion to Vacate, Set Aside, or Correct Sentence by

a Person in Federal Custody, pursuant to 28 U.S.C. § 2255. (See Doc. 505.) Because the

government has addressed the additional claims in its Response to the instant petition, the

Court may consider such claims without further briefing.

                  1. Ineffective Assistance of Trial Counsel

         Adopting Ground Two of Cloud’s petition, Petitioner asserts four additional

grounds upon which his trial counsel was ineffective. First, he argues that counsel should

have moved for separate trials based upon the principles of Bruton v. United States, 391

U.S. 123 (1968).3 Petitioner further argues that counsel failed “to make appropriate and

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                   In Bruton, the Supreme Court held that the Confrontation Clause of the Sixth Amendment
         precludes, in a joint trial, the admission of a non-testifying codefendant’s confession. Id. at 126. This rule
         applies only where the non-testifying codefendant’s statement is facially incriminating as to the defendant.
         Richardson v. Marsh, 481 U.S. 200, 207 (1987). The Sixth Circuit has extended the Bruton rule to include
         not only a codefendant’s confession, but any statement by a non-testifying codefendant that implicates the
         defendant. United States v. Bartle, 835 F.2d 646, 651 (6th Cir. 1987).
                   Nine of Abdullah’s codefendants testified at trial, which renders Bruton inapplicable to any of
         their statements. Nelson v. O’Neil, 402 U.S. 622, 627 (1971) (“The Constitution as construed in
         Bruton…is violated only where the out-of-court hearsay statement is that of a declarant who is unavailable
         at the trial for ‘full and effective’ cross-examination.”). Furthermore, the Confrontation Clause is not
         violated where a non-testifying codefendant’s statement is admitted pursuant to a hearsay exception, White

                                                         14
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 15 of 25. PageID #: 2838




necessary objections and motions for mistrial; to introduce evidence demonstrating

[Petitioner’s] innocence; and to object to the sentencing recommendation and the

imposed sentence.” (Doc. 505 at 4).

       Neither Cloud nor Petitioner offer any argument or facts related to any of the

above grounds. To the extent Petitioner alleges that counsel failed to move for separate

trials based upon Bruton, he does not specify which of his codefendants’ statements were

improperly admitted. Likewise, it is unclear what objections counsel allegedly failed to

make, what grounds existed for a mistrial, or what exculpatory evidence should have

been presented. It is therefore not possible for the Court to undertake any meaningful

review of the claim of ineffective assistance of trial counsel adopted by Petitioner from

Cloud’s petition. “[I]ssues adverted to in a perfunctory manner, unaccompanied by some

effort at developed argumentation, are deemed waived.” United States v. Layne, 192

F.3d 556, 567 (6th Cir. 1999) (citing McPherson v. Kelsey, 125 F.3d 989, 995-96 (6th

Cir. 1997)).

       While Petitioner also provides no support for his assertion that counsel failed to

object to the sentence imposed, the Court finds that this argument is clearly belied by the

record. Petitioner’s trial counsel filed a sentencing memorandum prior to sentencing, in

which he objected to the guideline enhancements applied by the probation officer in the

Presentence Investigation Report, argued that both the guideline sentence and the

mandatory minimum life sentence were inherently unfair and violated Petitioner’s right

to due process and equal protection, requested a sentence below the mandatory minimum,
       v. Illinois, 502 U.S. 346, 356 (1992), or for non-hearsay purposes, Tennessee v. Street, 471 U.S. 409, 414
       (1985).

                                                     15
      Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 16 of 25. PageID #: 2839




and moved for a downward departure from the applicable guideline range based on

overrepresentation of criminal history. (Doc. 423). The fact that counsel’s attempts at

securing a lesser sentence were unsuccessful does not render his performance deficient.

         Therefore, the Court finds that Petitioner’s claim of ineffective assistance of trial

counsel, as adopted from Cloud’s petition, is without merit.

                2. Ineffective Assistance of Appellate Counsel

         Adopting Ground Three of Cloud’s petition, Petitioner asserts that his appellate

counsel was constitutionally ineffective for failing “to challenge the verdict on the

grounds of the Bruton violations, the introduction of inadmissible and prejudicial hearsay

and the insufficiency of the evidence of the drug amount.” (Doc. 505 at 4). Petitioner

also alleges that appellate counsel was ineffective for failing “to challenge the

reasonableness of the thirty-year sentence on Eighth Amendment grounds.” (Doc. 505 at

4).

         With respect to counsel’s failure to raise a Bruton argument, Petitioner’s claim of

ineffective assistance is without merit. As discussed in Section III.C.1., supra, Petitioner

has failed to provide facts, arguments, or citation to any authority which would allow the

Court to engage in a meaningful analysis of counsel’s representation relative to a Bruton

claim. Petitioner has thus failed to show deficient performance or prejudice in appellate

counsel’s failure to raise such a claim.

         Petitioner also fails to provide support for his assertion that counsel did not

challenge the admission of hearsay evidence. As the government points out, Petitioner’s

codefendant, Calvin Caver (“Caver”), raised this very issue on direct appeal. The Sixth

                                              16
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 17 of 25. PageID #: 2840




Circuit found that, while certain hearsay evidence was improperly admitted against

Caver, such error was harmless because it was not more probable than not that the error

affected the verdict, as “[t]he record was replete with direct evidence that Defendant

Caver was dealing drugs.” United States v. Caver, 470 F.3d 220, 240 (6th Cir. 2006). As

with Caver, there was substantial direct evidence of Petitioner’s guilt presented at trial.

In the absence of specific examples of hearsay improperly admitted against him,

Petitioner has failed to demonstrate that appellate counsel was ineffective for failing to

raise the issue on appeal.

       Next, Petitioner argues that appellate counsel was ineffective for failing to

challenge the sufficiency of the evidence regarding the amount of drugs Petitioner

possessed. On direct appeal, Petitioner did challenge the sufficiency of the evidence with

respect to his participation in the drug conspiracy. The Sixth Circuit affirmed Petitioner’s

conviction, finding in part:

       The government produced evidence that Defendant Abdullah also engaged
       in repeated, high-volume sales and purchases of crack cocaine. Hall
       testified that he sold Defendant Abdullah ounces or portions of an ounce of
       crack cocaine “every day, or every other day.” Stokes testified that he
       purchased crack from Defendant Abdullah once a week. Howard, Morris,
       Anderson, Ralph Jones, and Walker also testified that they had engaged in
       crack cocaine transactions with Defendant Abdullah on more than one
       occasion.

Id. at 235. Such evidence was sufficient to support the jury’s finding that Petitioner

possessed “at least 500 grams” of cocaine base. See (Doc. 366 at 2). Because the

argument would almost certainly have been rejected on appeal, Petitioner has not shown




                                            17
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 18 of 25. PageID #: 2841




that he was prejudiced by appellate counsel’s failure to challenge the sufficiency of the

evidence regarding drug amount.

       To the extent Petitioner argues that appellate counsel should have challenged the

sufficiency of the evidence of drug amount for purposes of sentencing, the argument is

without merit.    Because he had two prior felony drug convictions, Petitioner was

sentenced based upon the mandatory minimum sentence of life imprisonment under 21

U.S.C. § 841(b)(1)(A). Any argument as to the specific amount of drugs he possessed

would have been irrelevant for sentencing purposes, as the jury had already determined

that Petitioner possessed enough cocaine base to satisfy the elements of § 841(b)(1)(A).

Counsel was not ineffective for failing to raise a meritless argument on appeal. Mathews,

11 F.3d at 585.

       Finally, Petitioner argues that appellate counsel was ineffective for failing to

mount an Eighth Amendment challenge to the reasonableness of his sentence of life

imprisonment without release. Any such challenge is plainly without merit in light of the

Sixth Circuit’s decision in United States v. Hill, 30 F.3d 48, 51 (6th Cir. 1994). There,

the Court held that the mandatory life sentence prescribed by 21 U.S.C. § 841(b)(1)(A)

was constitutional. Accordingly, Petitioner’s appellate counsel was not ineffective for

failing to raise the issue on appeal.

       For the foregoing reasons, the Court finds that Petitioner’s claim of ineffective

assistance of appellate counsel, as adopted from Ground Three of Cloud’s petition, is

without merit.



                                           18
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 19 of 25. PageID #: 2842




              3. Prosecutorial Misconduct – Subornation of Perjury, Witness Coercion

       Adopting Ground Four of Cloud’s petition, Petitioner alleges that the government

introduced “false and coerced testimony of government witnesses.” (Doc. 505 at 5). As

support for such claim, Petitioner states that the “government’s witnesses were uniformly

threatened with additional prison time – up to life without parole – if they did not provide

incriminating testimoney [sic].”    (Doc. 505 at 5).     He further contends that “many

witnesses then testified against the defendants in contradiction of their earlier PD offers

and/or grand jury testimony.” (Doc. 505 at 5).

       Because Petitioner did not raise this issue on direct appeal, it is procedurally

defaulted. Elzy v. United States, 205 F.3d 882, 884 (6th Cir. 2000). If a defendant

procedurally defaults a claim by not raising it on direct appeal, he may bring the claim in

a § 2255 petition only upon a showing of cause and prejudice or actual innocence.

Bousley v. United States, 523 U.S. 614, 622 (1998). Petitioner has failed to make any

such showing.

       Even absent procedural default, Petitioner’s claim is without merit. “Government

misconduct that amounts to substantial interference with a witness’s free and unhampered

determination to testify may be deemed a violation of due process.” United States v.

Foster, 128 F.3d 949, 953 (6th Cir. 1997). Nevertheless, “[i]n carrying out his legitimate

business it has always been properly within the prosecutor’s prerogatives to offer

[promises of leniency or of dismissal or reduction of charges] in return for a benefit to the

government, often in the form of the defendant’s cooperation.” United States v. Ware,

161 F.3d 414, 419-20 (6th Cir. 1998).        In failing to specify which witnesses were

                                             19
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 20 of 25. PageID #: 2843




allegedly coerced, Petitioner has not demonstrated that the government acted outside the

permissible bounds of its power to elicit cooperation from any witness.

       To succeed on a claim for prosecutorial misconduct based upon subornation of

perjury, Petitioner “must show (1) the statement was actually false; (2) the statement was

material; and (3) the prosecution knew it was false.” United States v. Lochmondy, 890

F.2d 817, 822 (6th Cir. 1989). Petitioner has failed to meet this burden. He does not

specify what false testimony was allegedly presented by the government at trial.

Petitioner makes only vague allegations which provide no grounds for the Court to

examine his claim and which will not support a claim that the government suborned

perjury.

       Therefore, Petitioner’s claim of prosecutorial misconduct based upon the

government’s coercion of witnesses and subornation of perjury, as adopted from Ground

Four of Cloud’s petition, is both procedurally defaulted and without merit.

                4. Bruton Violation

       Petitioner next adopts Ground Five of Cloud’s petition, which alleges a Bruton

violation based upon the introduction of incriminating statements made by non-testifying

codefendants.     (Doc. 505 at 6).    By failing to raise a Bruton violation on appeal,

Petitioner has procedurally defaulted such a claim. He has also failed to show cause and

prejudice or actual innocence to excuse his default.

       Even if the claim is not procedurally defaulted, Petitioner has not demonstrated a

Bruton violation. As with the ineffective assistance of counsel claim based upon Bruton

discussed at Section III.C.1, supra, Petitioner offers no facts, argument, or authority to

                                            20
      Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 21 of 25. PageID #: 2844




support his claim. It is entirely unclear to which statements or witnesses Petitioner refers.

The Court is thus unable to determine whether any such statements were improperly

admitted.

         Accordingly, the Court finds that the Bruton claim adopted by Petitioner from

Ground Five of Cloud’s petition is both procedurally defaulted and without merit.

               5. Fair Trial

         Petitioner, adopting the claim raised in Ground Six of Cloud’s petition, next

contends that he was denied the Fifth Amendment right to a fair trial by the introduction

of “unfairly prejudicial evidence, hearsay and evidence against [Petitioner’s] co-

defendants that damaged him by association.” (Doc. 505 at 6). These assertions are so

vague and unsupported that the Court is wholly unable to evaluate their validity for

purposes of the instant petition. The Court finds, therefore, that the claim is without

merit.

               6. Insufficient Evidence

         Adopting Ground Seven of Cloud’s petition, Petitioner argues that his conviction

was based upon insufficient evidence of either his involvement in the drug conspiracy or

the amount of drugs attributable to him.          (Doc. 505 at 6).   The Sixth Circuit has

repeatedly held that “the sufficiency of the evidence to support a conviction may not be

collaterally reviewed on a Section 2255 proceeding.” United States v. Osborn, 415 F.2d

1021, 1024 (6th Cir. 1969) (en banc). Such claims may only be raised on direct appeal.

Id.



                                             21
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 22 of 25. PageID #: 2845




       On direct appeal, Petitioner did challenge the sufficiency of the evidence with

respect to his involvement in the conspiracy. The Sixth Circuit rejected the claim,

finding that substantial evidence existed to show that Petitioner was a participant in the

drug conspiracy. Caver, 470 F.3d at 235. Petitioner has provided no basis for this Court

to find differently on the issue.

       Petitioner did not challenge the sufficiency of the evidence related to the quantity

of drugs he possessed, and he has not shown cause and prejudice or actual innocence to

excuse his default.

       Therefore, the Court finds that Petitioner’s claim of insufficient evidence, adopted

from Ground Seven of Cloud’s petition, is procedurally defaulted as to the evidence of

drug quantity, and is without merit.

              7. Composition of the Jury Pool

       Adopting Ground Eight of Cloud’s petition, Petitioner argues that his “conviction

was obtained as a result of an unconstitutionally selected and/or impaneled [sic] petit

jury.” (Doc. 505 at 6). Specifically, he contends that the “racial composition of the jury

pool caused a deprivation of [Petitioner’s] rights to a fair trial by an impartial jury and to

equal protection under the law as guaranteed by the Fifth, Sixth and Fourteenth

Amendments of the U.S. Constitution.” (Doc. 505 at 6).

       Because Petitioner did not raise this issue on direct appeal, he is foreclosed from

presenting it in the instant § 2255 proceedings absent a showing of cause and prejudice or

actual innocence. Based upon the minimal argument presented, Petitioner has failed to

make such a showing.

                                             22
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 23 of 25. PageID #: 2846




       Petitioner’s procedural default notwithstanding, the claim is without merit. To

establish a prima facie violation of the Sixth Amendment’s requirement that a jury be

drawn from a fair cross-section of the community, a defendant must show: “(1) that the

group alleged to be excluded is a ‘distinctive’ group in the community; (2) that the

representation of this group in venires from which juries are selected is not fair and

reasonable in relation to the number of such persons in the community; and (3) that this

underrepresentation is due to systematic exclusion of the group in the jury-selection

process.” Duren v. Missouri, 439 U.S. 357, 364 (1979). Petitioner has failed to show

any of the Duren elements.

       Therefore, the Court finds that his challenge to the composition of the jury pool,

adopted from Ground Eight of Cloud’s petition, is both procedurally defaulted and

without merit.

              8. Reasonableness of Sentence

       Finally, Petitioner adopts Ground Nine of Cloud’s petition, asserting that the

sentence of life imprisonment without release imposed by the Court is unreasonable and

unconstitutional.   Because Petitioner did not raise this issue on direct appeal, it is

procedurally defaulted. Moreover, as noted in Section III.C.2., supra, any such argument

is foreclosed by the Sixth Circuit’s holding in Hill.

       Therefore, the Court finds that Petitioner’s challenge to the reasonableness and

constitutionality of his sentence, adopted from Ground Nine of Cloud’s petition, is both

procedurally defaulted and without merit.



                                             23
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 24 of 25. PageID #: 2847




       D. Request for Appointment of Counsel and Evidentiary Hearing

       Petitioner asks the Court to appoint counsel “for supplemental briefing, raising any

additional issues that may have merit, and to supplement the issues raised [in the

petition].” Additionally, Petitioner requests an evidentiary hearing. Both requests are

hereby denied.

       Pursuant to § 2255(g), it is within the district court’s discretion whether to appoint

counsel to a petitioner seeking to vacate, set aside, or correct a sentence. Because the

Court finds that Petitioner’s claims are plainly without merit, the interests of justice do

not require the appointment of counsel in the instant matter.

       In a § 2255 proceeding, “[a]n evidentiary hearing is required unless ‘the record

conclusively shows that the petitioner is entitled to no relief.’” Arredondo v. United

States, 178 F.3d 778, 782 (6th Cir. 1999) (quoting Blanton v. United States, 94 F.3d 227,

235 (6th Cir. 1996)). The record in the instant matter clearly demonstrates that Petitioner

is not entitled to relief. Therefore, no evidentiary hearing is necessary.



IV. CONCLUSION

       For the foregoing reasons, Petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody (Doc. 527) is hereby

DISMISSED.




                                             24
   Case: 1:03-cr-00486-JRA Doc #: 678 Filed: 03/18/11 25 of 25. PageID #: 2848




         Furthermore, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal

from this decision could not be taken in good faith, and that there is no basis upon which

to issue a certificate of appealability pursuant to 28 U.S.C. § 2253(c); Fed.R.App.P.

22(b).

         IT IS SO ORDERED.



 March 18, 2011                              /s/ John R. Adams
Date                                        JOHN R. ADAMS
                                            UNITED STATES DISTRICT JUDGE




                                              25
